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HARTMANN DOHERTY
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Limited Liability Partnership Attorneys At Law

September 18, 2024

VIA ECF

Honorable Michael A. Hammer

United States District Court for the District of New Jersey
50 Walnut Street

Newark, New Jersey 07101

Re: Agdal v. Danis
Civil No. 23-16873 (MCA) (MAH)

Dear Judge Hammer:

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Please accept this letter in lieu of a more-formal request to reschedule the September 24,
2024 status conference ordered by the Court. I have been summoned to jury duty on starting
Monday, September 23, 2024, and I am required to appear for up for three days or until | am
selected. Therefore, I cannot be sure that I will be available on Sep 24, 2024. I have already re-
scheduled my jury service two times. I can have my partner appear on Sep 24, 2024, but I suspect

the Court expects me to be there in light of the issue the Court seeks to address.

I apologize for this inconvenience but, truth be told, I have never received a jury summons
before and I am hopeful that I will be selected to serve on a jury due to the importance of jury
service. Although it seems unlikely that I will be selected, I am required, nevertheless, to be
available. Therefore, | would ask the Court to reschedule the status conference for September 30,
2024 or October 1, 2024, that is before the Jewish holidays commence and scheduling becomes

more difficult for me.

cc: All Counsel of Record (via ECF)
